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                TRIAL EXHIBIT 5215

Uber Objections:
            Fed. R. Evid. 802 – This document contains inadmissible hearsay; namely, out of court
             statements made by Lior Ron, who participated in the Stroz diligence process in his individual
             capacity. See Br. § I.

            Fed. R. Evid. 805 – This document contains inadmissible hearsay within hearsay; namely, Lior
             Ron’s recitation of out of court statements made by other declarants. See Br. § I.

            Fed. R. Evid. 403 – Because the document is replete with embedded hearsay, the Court should
             exercise its discretion under Rule 403 to exclude any reliance on the document for its truth, to
             prevent jury confusion about what fragments are admissible for truth, and resulting waste of time
             and prejudice to Uber. See Br. § IV.

            This exhibit contains references to, and attaches a copy of, Lior Ron’s employment agreement,
             which Waymo stipulated that it would not make reference to in its case in chief. See Dkt. 425 at
             4.

            Designated witnesses who received this document pre-litigation are: Eric Tate, John Gardner,
             Adam Bentley, Lior Ron, and Justin Suhr. Except through Suhr, the document therefore cannot
             be admitted for a non-hearsay purpose of notice to Uber or Ottomotto. See Br. § IV. Only Tate
             and Gardner received this document as an Exhibit to the Stroz Report; the remaining witnesses
             received an identical document in April or May, 2016, well before the Stroz Report was written.


                Yellow Highlights                                        Hearsay Statements

                 Blue Highlights                                 Hearsay-within-Hearsay Statements
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